          Nos. 24-7000 (lead), 24-3449, 24-3450, 24-3497,
           24-3508, 24-3510, 24-3511, 24-3519, 24-3538


      In the United States Court of Appeals
              for the Sixth Circuit
    IN RE: MCP NO. 185: FEDERAL COMMUNICATIONS COMMISSION,
      IN THE MATTER OF SAFEGUARDING AND SECURING THE OPEN
    INTERNET, DECLARATORY RULING, ORDER, REPORT AND ORDER,
     AND ORDER ON RECONSIDERATION, FCC 24-52, 89 FED. REG.
                  45404, PUBLISHED MAY 22, 2024

                       On Petitions for Review


UNOPPOSED MOTION FOR EXPEDITED RULING ON PENDING
UNOPPOSED MOTIONS TO INTERVENE AT ECF Nos. 50, 55, 58

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     Movants, each of which has a pending, unopposed motion to

intervene as of right, respectfully request that the Court rule on the

motions to intervene before the September 18, 2024 deadline to file

amicus briefs in support of respondents in this matter. Undersigned

reached out to the Industry Petitioners and the respondents. None oppose

this motion.

                             BACKGROUND

     Movants are public interest groups and a state regulatory

association with interests in open internet regulations and broadband

classification. Each has a pending motion to intervene in these cases in

support of the FCC and the United States as respondents. See ECF

Nos. 50, 55, 58. Each motion explained that under 28 U.S.C. § 2348, the

proposed intervenors are entitled to intervene “as of right” because they

were “part[ies] in interest in the proceeding ... whose interests will be

affected if an order of the agency is or is not ... set aside.” Ibid. Neither

petitioners nor respondents opposed any of the motions.

     On August 1, 2024, a motions panel stayed the FCC’s order and set

a briefing schedule under which briefs for respondents (which would

include any intervenor in support of respondents) were due yesterday,
September 11, 2024. See ECF No. 71. Accordingly, movants were in the

position of being required to file any brief as intervenors yesterday,

without having had their motions resolved. They attempted to file the

brief with a motion for leave. See ECF No. 132. Today, the case manager

instructed the proposed intervenors to refile the brief as an Intervenor

Brief without a motion. Thus, as directed by the case manager, the

proposed intervenors filed a single, consolidated Intervenor Brief within

the 13,000-word limit. See ECF No. 135.

     However, movants are still prejudiced by the uncertainty over the

pending unopposed intervention motions. Absent a ruling on the

intervention motions by the amicus deadline of September 18, 2024,

movants will be forced to protectively file conditional amicus briefs to be

accepted in the event their motions to intervene are denied. Given the

reduced word limit for amicus briefs, this will lead movants to divide their

present joint brief into two separate amicus briefs submitted by two

subgroups of signatories to the proposed joint intervenor brief. A prompt

ruling on the pending motions to intervene could avoid this potentially

unnecessary work and proliferation of briefs.




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                          REQUESTED RELIEF

     Movants respectfully request a ruling on their pending motions to

intervene before the September 18, 2024 due date for amicus briefs in

support of respondents.

     September 12, 2024           Respectfully submitted,

                                /s/ Daniel Woofter
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                    CERTIFICATE OF COMPLIANCE

      This motion complies with Fed. R. App. P. 27(d)(2) because it

contains 412 words, excluding the parts of the motion exempted by Fed.

R. App. P. 32(f).

      This brief further complies with the requirements of Fed. R. App.

P. 32(a) because it was prepared in a 14-point font using a proportionally

spaced typeface.

                                       /s/   Daniel Woofter
                                             Daniel Woofter

      September 12, 2024
                    CERTIFICATE OF SERVICE

     I hereby certify that on September 12, 2024, I electronically filed

the foregoing brief with the Clerk of Court for the U.S. Court of Appeals

for the Sixth Circuit using the CM/ECF system. I certify that all

participants in the case are registered CM/ECF users and that service

will be accomplished by the CM/ECF system.

                                       /s/   Daniel Woofter
                                             Daniel Woofter

     September 12, 2024
